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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                   CASE NO. 1:88-cr-01026-MP

CHARLES L DAVIS,

      Defendant.
___________________________/
                                            ORDER

       This matter is before the Court on Doc. 3498, Motion to Alter Judgment by Charles L

Davis. In the motion, the Defendant correctly points out that the Amended Judgment, entered

after the July 9, 2008, resentencing, and dated July 16, 2008, contained three clerical errors.

First, contrary to the findings of the Court during sentencing and the Eleventh Circuit in its

Mandate, the Amended Judgment indicated the "Date Offense Concluded" for Count Two was

March 9, 1993. In fact, it should have been changed to February 3, 1987. Second, the same is

true for the "Date Offense Concluded" for Count Three. Third, in the middle of the second page,

the Amended Judgment wrongly stated that the Sentencing Reform Act of 1984 and the
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Sentencing Guidelines applied to Defendant. Those provisions do not apply, however, based on

the Eleventh Circuit's Mandate.

         Accordingly, it is hereby

         ORDERED AND ADJUDGED:

         The Clerk is directed to enter a Second Amended Judgment which sets February 3, 1987,
         as the "Date Offense Concluded" for Counts Two and Three. The Second Amended
         Judgment should also state that the Sentencing Reform Act and the Sentencing
         Guidelines do not apply. Thus, Mr. Davis is not subject to the non-parole provisions of
         Sentencing Reform Act.

         DONE AND ORDERED this 3rd day of September, 2008


                                          s/Maurice M. Paul
                                     Maurice M. Paul, Senior District Judge




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